Case 1:18-cv-00200-JPH-KMB Document 254-8 Filed 03/22/21 Page 1 of 4 PageID #: 7663




                    EXHIBIT 5
Case 1:18-cv-00200-JPH-KMB Document 254-8 Filed 03/22/21 Page 2 of 4 PageID #: 7664


                                                 Joe H. Camp, D.D.s., P.A.
                                               William C. Myers, DoD.s., P.A.
                                              Stephen C. Wheeler, D.D.S., P.A;
                                                Evan N.MUler.DoD.8•• P.A.
                                               Edwin C. Bryson, D.D.S., P.A.
                                              Zachary P. Schnoor, DoD.S., P.A.

              136 ProvidcQce R~ad .. Cbarlotte, North CaroIfna 28207. (704)377-1444 .:Fax (704)377-1451 .


                                                FAX COVER SHEET

      To:      Allen Gamble

               Fax Number:      704-374-9909


      From: Joe H. Camp, DDS

              FaxNumber.        704-377-145]




      Consero Life Insurance Co. - PoliCy # 1090095604

      Insured - J 06 H. Camp




      Total number (including this sheet) of pages:      ~
      If all pages are not received call (704)377-1444




                                                                                                        BC-0078
Case 1:18-cv-00200-JPH-KMB Document 254-8 Filed 03/22/21 Page 3 of 4 PageID #: 7665




                WHARLO~~~p'~£ON11ts
                                WillIamC.Mym;,D.D.s.,PA
                               Stephen C. Wheeler, D.D.s., P.A.
                                   Evan N. Miller, D.D$., P.A.
                                 Edwln C.lIrysm1. D.D.s., F.A.
                               ZacluuyP.Sclmoor,D.O.5.,P.A.




         February 5, 2009


         To;   Gerard Wathen
               Coriseco Life Insurance Co;

        Re:    Joe H. Camp, Insured
               Policy # 1090095604


        Pursuant to your request on our telephone call earlier today, I acknowledge that my
        policyis under some sort of moratorium. I wish to bypass the moratorium and proceed
        with my request for a full surrender ofthe policy (which was submitted 12-22~08).

        Gerard, as agreed, you will contact me no later than 12-10-09 to acknowledge receipt of
        this fax, that the surrender is proceeding and the date that I will reCeive the proceeds.

        Sincerely.



        Joe H. Camp, DDS
        Fax # 704.:.377-1451

        CC:    Allen Gamble. agent
               704:'342-3696 :Phone
               704-374-9909 Fax




                                             130 Providence Road • Charlotte, NC 282(J7
                                                 . 704.377.1444· 704.377.1451111·
                                  Practice Limited to Endodontics· Wfuw.chariottemdoilontics.ClJm


                                                                                                                Be-0079




                                                           ~   - - - - - --   ---~--~--~--~-        -----_._-
      Case 1:18-cv-00200-JPH-KMB Document 254-8 Filed 03/22/21 Page 4 of 4 PageID #: 7666




                     ** Transmit Con~JrmationReport **
               P.1                                                                                           Feb 5 2009 03:38pm
                                                     Fax: 1043771451                                                   ~

                     Name/Fax Ho.                                Mode               start              Time Page ~esult\    1\\ Note       i

                                                                                                                                       ,".-!

               18001516324                                 Normal               05, 03:31pm 0'43"             ~ *·0 K                    ~;

                                                                                                              ,
                                                                                                                  \~    J                .:::.
                                                                                                                                           ;




;'"




                                                                 It;IeR- CIIUlpJ 1).1)'&,l".A.
                                                                WIIIlam C. ~D.1).S., 1'.A.
                                                               Stepkac. '\'Ii'heeIer,D.D.&, P.A.
                                                                 It'VU N. M:lIJoqo. W>.&.1'.A.
                                                                 Bdwiu C.~D.1).s.. P.A;
                                                               1'..Iu:Izar11'. Scboer, ])J).s~ 1'.A.
                              138l"rovld_ ~lId • Cllllrto~ NQJ'tII carcllllallllO'h (7Il~-l444 • 1'0:(784)37'1-1451




                      To:      Oomd WaIbtn
                               Con.$ecq U\lo "IIlsuIanoe Co.

                               mNWlter..         1-800-757-6324

                       From: Ice H. <:;fIlIlP, DDS

                               PeX~. 704-317-1451


                     .'I----------------------------------------------~



                      eo-co Lifo ~ Co. - Po'lky #I 1090095604
                      1'nsun:d - Joc.ll. Camp




                      ToOO mnnbeI; flllCluding tbilI sbc-=l}of p&gei:       jiL
                     . Ifanpag&urlt om received call (704)377-1444



                                                                                                                                   Bt-0080
